       Case 3:25-cv-00821-SRU            Document 1        Filed 05/23/25      Page 1 of 37




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 ERIC MAGLIONE, individually and on                    Case No.:
 behalf of all others similarly situated,
                                                       CLASS ACTION COMPLAINT
                        Plaintiff,
                                                       JURY TRIAL DEMANDED
        v.

 YALE NEW HAVEN HEALTH SYSTEM,

                        Defendant.                     MAY 23, 2025


       ERIC MAGLIONE (“Plaintiff”), individually and on behalf all others similarly situated,

brings this action against YALE NEW HAVEN HEALTH SYSTEM (“Yale Health” or

“Defendant”) and alleges as follows upon personal knowledge as to Plaintiff’s own actions, upon

investigation of Plaintiff’s counsel facts of public record, and upon information and belief as to all

other allegations.

                                        INTRODUCTION

       1.      Plaintiff brings this action against Defendant for its failure to properly secure and

safeguard Plaintiff’s and Class Members’ personally identifiable information (“PII”) and other

private information (together with PII, “Private Information”) in a data breach (“Data Breach”) of

Defendant’s network environment that occurred on or about March 8, 2025.

       2.      Defendant learned of the Data Breach on March 8, 2025, but did not disclose it

publicly until April 14, 2025.

       3.      Defendant confirmed that Plaintiff’s Private Information, including potential name,

date of birth, address, telephone number, email address, race or ethnicity, Social Security number,
          Case 3:25-cv-00821-SRU          Document 1        Filed 05/23/25      Page 2 of 37




and/or medical record number, was stolen on March 8, 2025 in connection with the Data Breach,

but Defendant did not notify Plaintiff until April 14, 2025.

          4.   Plaintiff’s claims herein arise from Defendant’s failure to adequately secure and

safeguard the Private Information entrusted to Defendant for authorized use only and from

Defendant’s concomitant obligation to properly store and transfer said information.

          5.   Plaintiff and Class Members seek damages and injunctive and declaratory relief

from Defendant for injuries that have been and will be sustained as a direct and proximate result

of Defendant’s failure to maintain Plaintiff’s and Class Members’ Private Information 1 under

industry standards and for Defendant’s failure to provide notice of the Data Breach to Plaintiff and

Class Members until well after its initial occurrence.

          6.   Defendant failed to take precautions reasonably calculated to keep Plaintiff’s and

Class Members’ Private Information secure.

          7.   Defendant owes Plaintiff and Class Members a duty to take all reasonable and

necessary measures to keep Private Information collected safe and secure from unauthorized

access.

          8.   Defendant solicited, collected, used, and derived benefits from Private Information,

but failed to implement or maintain adequate security practices to protect Private Information.

          9.   Defendant is liable for the Data Breach and for the foreseeably consequent unlawful

access to use of Plaintiff’s and Class Members’ Private Information, including out-of-pocket




1
  Private Information includes all information that on its face expressly identifies an individual,
consistent with the definition of PII found in 2 C.F.R. § 200.79; it is also generally defined to
include certain identifiers that do not on their face name an individual, but are particularly sensitive
and/or valuable if it was in the possession of a bad actor (for example, Social Security numbers,
driver’s license numbers, passport numbers, and banking information).
                                                   2
       Case 3:25-cv-00821-SRU           Document 1       Filed 05/23/25      Page 3 of 37




expenses, as well as expenses associated with reasonable mitigation measures that Plaintiff and

Class Members may employ, as well as other damages.

       10.     In the ordinary course of Defendant’s business, it acquires, possesses, analyzes, and

utilizes Plaintiff’s and Class Members’ Private Information.

       11.     Plaintiff’s and Class Members’ Private Information, entrusted to Defendant on the

mutual understanding that Defendant would protect same against disclosure, was targeted,

compromised, and unlawfully accessed in the Data Breach.

       12.     Defendant had a duty to implement reasonable data security practices necessary to

protect sensitive, confidential and personal information entrusted to it because it is reasonably

foreseeable that exposure of Private Information to unknown and criminal third parties,

particularly hackers, would injure Plaintiff and Class Members, including via financial identity

theft and other long-term financial and/or impersonation problems.

       13.     Attempting to mitigate the resulting injuries and risks resulting from the Data

Breach requires taking preventive and/or protective measures that require significant resources,

including money and time, to monitor credit, financial accounts, health records, and email

accounts.

       14.     Defendant’s notices lack specificity, failing to provide sufficient meaningful

information to Plaintiff and the Class Members of the facts and circumstances relating to the Data

Breach. Without these specifics, Plaintiff and the Class Members were and remain severely

hampered in their ability to take measured steps to mitigate the resulting harm from the Data

Breach.




                                                 3
       Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25      Page 4 of 37




       15.     Plaintiff and Class Members now face a heightened and imminent risk of fraud,

identity theft, health insurance benefit misappropriation, health privacy intrusion, and private

information dissemination on the dark web. This risk will persist for their lifetimes.

       16.     Plaintiff and Class Members suffered tangible injuries, including the diminished

value of their Private Information, lost time and opportunity costs from mitigating the Data Breach

consequences, loss of the benefit of their bargain with Defendant to maintain their Private

Information in a reasonably protected manner, and the actual misuse of their compromised data.

       17.     As a result, Plaintiff and Class Members must spend significant additional time,

money, and energy to protect themselves from these potential crimes to the extent possible. All of

this will need to be done to attempt to thwart the clear intent of hackers when they break into

databases to steal this information to monetize this data with fraudulent and criminal transactions.

       18.     Plaintiff brings this action on behalf of all persons whose Private Information was

compromised as a result of Defendant’s failure to: (i) adequately protect the Private Information

of Plaintiff and Class Members; (ii) warn Plaintiff and Class Members of Defendant’s inadequate

information security practices; (iii) effectively secure hardware containing protected Private

Information using reasonable and adequate security procedures free of vulnerabilities and

incidents; and (iv) timely notify Plaintiff and Class Members of the Data Breach.

       19.     Plaintiff, individually and on behalf of Class Members, asserts the following claims

against Defendant: (I) Negligence and Negligence Per Se, (II) Breach of Implied Contract, (III)

Unjust Enrichment, (IV) Breach of Fiduciary Duty, and (V) Declaratory Judgment/Injunctive

Relief. Plaintiff, individually and on behalf of the Class Members, seeks damages as well as

injunctive and declaratory relief.




                                                 4
        Case 3:25-cv-00821-SRU            Document 1           Filed 05/23/25   Page 5 of 37




                                               PARTIES

        20.     Plaintiff ERIC MAGLIONE (“Maglione”) is and was at all times relevant to this

action, a natural person residing in the State of Connecticut, Fairfield County. Maglione brings this

suit in his personal capacity and on behalf of all Class Members.

        21.     Defendant YALE NEW HAVEN HEALTH SYSTEM (“Yale Health”) is a nonprofit

healthcare system headquartered in New Haven, Connecticut, having its principal place of business

at 789 Howard Avenue, New Haven, New Haven County, Connecticut.

                                  JURISDICTION AND VENUE

        22.     This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

28 USC 1332(d) because (1) the matter in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs, (2) the action is a class action, (3) there are members of the proposed

Class who are diverse from Defendant, and (4) there are more than 100 proposed Class Members.

        23.     This Court has personal jurisdiction over Defendant because Defendant maintains

a principal place of business in this District, Defendant conducts substantial business in this

District, and the events giving rise to Plaintiff’s claims arise out of Defendant’s contacts with this

District.

        24.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(1), (2) because

Defendant is a resident and citizen of this District and a substantial part of the acts or omissions

giving rise to Plaintiff’s claims occurred in this district.

                                    FACTUAL ALLEGATIONS

        25.     Yale Health is a nonprofit health system that includes five hospitals, a medical

foundation, several multispecialty centers and dozens of outpatient locations and ambulatory sites

stretching from Westchester County, New York, through Connecticut and into Rhode Island.



                                                    5
       Case 3:25-cv-00821-SRU             Document 1       Filed 05/23/25     Page 6 of 37




       26.     Plaintiff and Class Members provided their Private Information to Yale Health as a

requirement to obtain medical services from Defendant.

       27.     Yale Health collects Private Information from Plaintiff and Class Members such as

name, date of birth, address, telephone number, email address, race or ethnicity, and Social

Security number in the ordinary course of business. Upon information and belief, this Private

Information is then stored on Defendant’s electronic systems.

       28.     Yale Health knew or reasonably should have known that it must comply with

healthcare industry standards related to data security and all federal and state laws protecting this

highly sensitive Private Information and provide adequate notice if this Private Information is

disclosed without proper authorization.

       29.     Plaintiff and Class Members provided their Private Information to Yale Health as a

condition of receiving medical services from Yale Health, but in doing so, expected Yale Health to

keep their Private Information confidential and securely maintained, to use this information for

business and healthcare purposes only, and to make only authorized disclosures of this information.

       30.     On or about April 14, 2025, Yale Health, notified the public of the Data Breach in

an online “Notice of Data Security Incident” as follows:

       Yale New Haven Health (“YNHHS”) is committed to providing high-quality care
       to all of our patients, including maintaining the privacy and security of patient
       information. We recently experienced a data security incident that involved some
       of that information. This notice provides additional information about what
       happened, measures we have taken in response, and offers steps patients may
       consider taking.

       What Happened? On March 8, 2025, we identified unusual activity affecting our
       Information Technology (IT) systems. We immediately took steps to contain the
       incident and began an investigation, which included assistance from external
       cybersecurity experts. We also reported the incident to law enforcement. The
       investigation determined that an unauthorized third-party gained access to our
       network and, on March 8, 2025, obtained copies of certain data.



                                                 6
       Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25      Page 7 of 37




       At no point did this incident impact our ability to provide patient care.

       What Information Was Involved? The information involved varied by patient,
       but may have included demographic information (such as name, date of birth,
       address, telephone number, email address, race or ethnicity), Social Security
       number, patient type, and/or medical record number.

       YNHHS’ electronic medical record and treatment information were not involved or
       accessed, and no financial account or payment information was involved in this
       incident.

       What YNHHS Is Doing & What Patients Can Do. YNHHS considers the health,
       safety, and privacy of patients our top priority. We are continuously updating and
       enhancing our systems to protect the data we maintain and to help prevent events
       such as this from occurring in the future.

       Beginning on April 14th, we are mailing letters to patients whose information was
       involved. While, to date, YNHHS is not aware of any patient information being
       used for identity theft or fraud, as a precaution, we are offering complimentary
       credit monitoring and identity protection services to individuals whose Social
       Security number was involved. Patients are also encouraged to review statements
       they receive from their healthcare providers and immediately report any
       inaccuracies to the provider.

       YNHHS has established a dedicated, toll-free call center that individuals may
       contact with questions about this incident. The call center is available at 1-855-549-
       2678, Monday through Friday, 9 am to 9 pm Eastern Time, excluding major U.S.
       holidays.

       We take our responsibility to safeguard patient information incredibly seriously,
       and we deeply regret any concern this incident may have caused. 2

       31.     Upon information and belief, the Private Information of Plaintiff and Class

Members that were impacted by the Data Breach was accessible, unencrypted, unprotected, and

susceptible to acquisition and/or exfiltration by unauthorized individuals.

       32.     Yale Health was undoubtably a target due to its status as a healthcare entity that

collects, creates, and maintains Private Information.




2
 Notice of Data Security Incident, YALE HEALTH, https://www.ynhhs.org/legal-notices (last
checked May 14, 2025).
                                                 7
        Case 3:25-cv-00821-SRU            Document 1        Filed 05/23/25      Page 8 of 37




       33.     The Notice of Data Security Incident does not offer sufficient information to

Plaintiff or the Class Members about how their Private Information was exposed, leaving them

uncertain about how to safeguard themselves fully.

       34.     When highly sensitive Private Information is accessed or obtained without

authorization, it is crucial to respond swiftly. The Private Information of Plaintiff and the Class

Members that has been disclosed, accessed, or acquired is now likely circulating on the Dark Web.

Hackers can retrieve and sell this unencrypted, unredacted Private Information to criminals.

       35.     Yale Health has largely put the burden on Plaintiff and Class Members to take

measures to protect themselves from identity theft and fraud.

       36.     Plaintiff and Class Members are currently exposed to an ongoing risk of fraud,

identity theft, and misuse due to the potential release of their Private Information, including Social

Security numbers, on the Dark Web. As a result of the unauthorized access, disclosure, and/or

activity by cybercriminals targeting computer systems containing hundreds of thousands of Social

Security numbers, Plaintiff and Class Members now face a lifelong threat of identity theft, which

is significantly increased under these circumstances.

       37.     Yale Health apparently plans to offer at least some of those impacted by the Data

Breach credit monitoring services. Such measures, however, are insufficient to protect Plaintiff

and Class Members from the lifetime risks they each now face. As another element of damages,

Plaintiff and Class Members seek a sum of money sufficient to provide to Plaintiff and Class

Members identity theft protection services for their respective lifetimes.

       38.     Plaintiff and the Class Members still do not know precisely which data was

compromised, how the disclosure occurred, the findings of any investigations, or what measures,

if any, are being implemented to protect their Private Information in the future. As a result, Plaintiff



                                                   8
           Case 3:25-cv-00821-SRU        Document 1       Filed 05/23/25      Page 9 of 37




and the Class Members are left to guess about the true extent of the Data Breach and what specific

steps Defendant plans to take to improve its information security systems and monitoring to

prevent additional breaches.

           39.   Yale Health could have prevented the Data Breach by properly securing and

encrypting and/or more securely encrypting its servers and systems, generally, as well as Plaintiff’s

and Class Members’ Private Information.

           40.   Defendant’s negligence in safeguarding Plaintiff’s and Class Members’ Private

Information was exacerbated by repeated warnings and alerts directed to protecting and securing

sensitive data, as evidenced by the trending data breach attacks in recent years.

           41.   Time is a compensable and valuable resource in the United States. According to the

U.S. Bureau of Labor Statistics, 55.6% of U.S.-based workers are compensated on an hourly

basis. 3

           42.   Plaintiff and Class Members are deprived of the choice as to how to spend their

valuable free hours and therefore seek renumeration for the loss of valuable time as another

element of damages.

Healthcare Organizations Are Frequent Target for Cybercriminals

           43.   Healthcare organizations have become a main target for cybercriminals because

they “hold a massive amount of patient data—including medical records, financial information,

Social Security numbers, names and addresses. They are also among the few businesses that stay




3
  Characteristics of minimum wage workers, 2022, U.S. BUREAU OF LABOR STATISTICS
(Aug. 2023), https://www.bls.gov/opub/reports/minimum-wage/2022/home.htm (last checked
May 14, 2025).
                                                 9
         Case 3:25-cv-00821-SRU         Document 1        Filed 05/23/25     Page 10 of 37




open 24/7, meaning they might be more likely to prioritize avoiding disruptions and, therefore,

more likely to pay a hacker’s ransom.” 4

          44.   In the context of data breaches, healthcare is a profoundly affected industry sector.

Further, cybersecurity breaches in the healthcare industry are particularly devastating, given the

frequency of such breaches and the fact that healthcare providers maintain highly sensitive and

detailed Private Information. 5

          45.   Despite the prevalence of public announcements of data breaches and data security

compromises, Defendant failed to take appropriate steps to protect Plaintiff’s and Class Members’

Private Information from being compromised.

          46.   Yale Health failed to properly train its employees as to cybersecurity best practices

and to maintain proper staffing and processes for responding to and preventing network intrusions.

          47.   Yale Health failed to implement sufficient processes to quickly detect and respond

to data breaches, security incidents, or intrusions.

          48.   Yale Health failed to encrypt Plaintiff’s and Class Members’ Private Information

adequately and to monitor user behavior and activity to identify possible threats adequately.

          49.   Yale Health failed to provide fair, reasonable, or adequate computer systems and

data security practices to safeguard the Private Information of Plaintiff and Class Members.

          50.   Yale Health failed to timely and accurately disclose that Plaintiff’s and Class

Members’ Private Information had been improperly acquired or accessed.




4
 Elise Takahama, Why health care has become a top target for cybercriminals, THE SEATTLE
TIMES (Feb. 25, 2024), https://www.seattletimes.com/seattle-news/health/why-health-care-has-
become-a-top-target-for-cybercriminals/ (last checked May 14, 2025).
5
    See id.
                                                  10
       Case 3:25-cv-00821-SRU            Document 1       Filed 05/23/25     Page 11 of 37




        51.       Yale Health knowingly disregarded standard information security principles,

despite obvious risks, by allowing unmonitored and unrestricted access to unsecured Private

Information.

Defendant Failed to Comply with FTC Guidelines

        52.       According to the Federal Trade Commission (“FTC”), the need for data security

should be factored into all business decision-making. 6 To that end, the FTC has issued numerous

guidelines identifying best data security practices that businesses, such as Defendant, should

employ to protect against the unlawful exposure of Private Information.

        53.       In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established guidelines for fundamental data security principles and practices

for business. 7

        54.       The guidelines recommend that businesses watch for large amounts of data being

transmitted from the system and have a response plan ready in the event of a breach.

        55.       The FTC recommends that companies not maintain Private Information longer than

is needed for authorization of a transaction, limit access to sensitive data, require complex

passwords to be used on networks, use industry-tested methods for security, monitor for suspicious




6
   Start with Security: A Guide for Business, FED. TRADE COMM’N (Aug. 2023),
https://www.ftc.gov/business-guidance/resources/start-security-guide-business (last checked May
14, 2025).
7
 Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N (Oct. 2016),
https://bit.ly/3u9mzre (last checked May 14, 2025).


                                                  11
       Case 3:25-cv-00821-SRU              Document 1   Filed 05/23/25      Page 12 of 37




activity on the network, and verify that third-party service providers have implemented reasonable

security measures. 8

       56.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

       57.     These FTC enforcement actions include actions against healthcare providers and

partners like Defendant. See, e.g., In the Matter of Labmd, Inc., 2016-2 Trade Cas. (CCH) ¶ 79708,

2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that LabMD’s

data security practices were unreasonable and constitute an unfair act or practice in violation of

Section 5 of the FTC Act.”).

       58.     Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to Private Information constitutes an unfair act or practice prohibited

by Section 5 of the FTCA, 15 U.S.C. § 45.

Yale Health Failed to Follow Industry Standards

       59.     Despite its ostensible commitments to securing sensitive data, Yale Health has not

followed industry standard practices in securing Private Information.




8
   Start with Security: A Guide for Business, FED. TRADE COMM’N (Aug. 2023),
https://www.ftc.gov/business-guidance/resources/start-security-guide-business (last checked May
5, 2025).
                                                 12
        Case 3:25-cv-00821-SRU         Document 1       Filed 05/23/25      Page 13 of 37




        60.    Experts studying cyber security routinely identify healthcare related entities as

being particularly vulnerable to cyberattacks because of the value of the Private Information which

they collect and maintain.

        61.    Several best practices have been identified that at a minimum should be

implemented by healthcare entities like Defendant, including, but not limited to, educating all

employees on the risks of cyber-attacks; strong passwords; multi-layer security, including

firewalls, anti-virus, and anti-malware software; encryption, making data unreadable without a

key; multi-factor authentication; backup data; and limiting which employees can access sensitive

data.

        62.    Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems, such

as firewalls, switches, and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

        63.    Upon information and belief, Yale Health failed to meet the minimum standards for

reasonable cybersecurity readiness.

        64.    Yale Health failed to comply with these accepted standards, thus opening the door

to criminals and the Data Breach.

Defendant Violated HIPAA and HITECH

        65.    HIPAA sets forth security provisions and data privacy responsibilities designed to

keep medical information safe. HIPAA compliance provisions, commonly known as the




                                                13
       Case 3:25-cv-00821-SRU           Document 1       Filed 05/23/25      Page 14 of 37




Administrative Simplification Rules, establish national standards for electronic transactions and

code sets to maintain the privacy and security of protected health information. 9

       66.     HIPAA provides specific privacy rules that require comprehensive administrative,

physical, and technical safeguards to ensure confidentiality, integrity, and security of Protected

Health Information (“PHI”) is properly maintained. 10

       67.     The Data Breach itself resulted from a combination of inadequacies showing

Defendant failed to comply with safeguards mandated by HIPAA. Defendant’s security failures

include, but are not limited to:

               a.      Failing to ensure the confidentiality and integrity of electronic PHI that it

                       creates, receives, maintains and transmits in violation of 45 C.F.R. §

                       164.306(a)(1);

               b.      Failing to protect against any reasonably-anticipated threats or hazards to

                       the security or integrity of electronic PHI in violation of 45 C.F.R. §

                       164.306(a)(2);

               c.      Failing to protect against any reasonably anticipated uses or disclosures of

                       electronic PHI that are not permitted under the privacy rules regarding

                       individually identifiable health information in violation of 45 C.F.R. §

                       164.306(a)(3);




9
  HIPAA lists 18 types of information that qualify as PHI according to guidance from the
Department of Health and Human Services Office for Civil Rights, and includes, inter alia: names,
addresses, any dates including dates of birth, Social Security numbers, and medical record
numbers.
10
   See 45 C.F.R. § 164.306 (security standards and general rules); 45 C.F.R. § 164.308
(administrative safeguards); 45 C.F.R. § 164.310 (physical safeguards); 45 C.F.R. § 164.312
(technical safeguards).
                                                14
      Case 3:25-cv-00821-SRU          Document 1        Filed 05/23/25       Page 15 of 37




              d.      Failing to ensure compliance with HIPAA security standards by Defendant’s

                      workforce in violation of 45 C.F.R. § 164.306(a)(4);

              e.      Failing to implement technical policies and procedures for electronic

                      information systems that maintain electronic PHI to allow access only to

                      those persons or software programs that have been granted access rights in

                      violation of 45 C.F.R. § 164.312(a)(1);

              f.      Failing to implement policies and procedures to prevent, detect, contain,

                      and correct security violations in violation of 45 C.F.R. § 164.308(a)(1);

              g.      Failing to identify and respond to suspected or known security incidents and

                      failing to mitigate, to the extent practicable, harmful effects of security

                      incidents that are known to the covered entity in violation of 45 C.F.R. §

                      164.308(a)(6)(ii);

              h.      Failing to effectively train all staff members on the policies and procedures

                      with respect to PHI as necessary and appropriate for staff members to carry

                      out their functions and to maintain security of PHI in violation of 45 C.F.R.

                      § 164.530(b) and 45 C.F.R. § 164.308(a)(5); and

              i.      Failing to design, implement, and enforce policies and procedures

                      establishing physical and administrative safeguards to reasonably safeguard

                      PHI, in compliance with 45 C.F.R. § 164.530(c).

       68.    Defendant acknowledges in its “Notice of Privacy Practices” that the Private

Information collected by Defendant is subject to HIPAA’s requirements:

       We work hard to ensure the privacy of patients and maintain confidentiality their
       information and medical records. Like all accredited healthcare institutions, we
       follow a federal law called the Health Insurance Portability and Accountability Act
       (HIPAA), which is designed to protect the privacy and confidentiality of patient

                                               15
         Case 3:25-cv-00821-SRU              Document 1        Filed 05/23/25      Page 16 of 37




         information. We insist that our staff observe patient confidentiality – respecting
         your right to privacy about your medical records and experience at our hospital.

         [...]

         This notice describes how medical information about you may be used and
         disclosed and how you can get access to this information. Please review it carefully.
         If you have any questions, please contact our privacy office at the phone number at
         the bottom of this notice.

         Our pledge to you: We understand that medical information about you is personal.
         We are committed to protecting medical information about you. We create a record
         of the care and services you receive to provide quality care and to comply with legal
         requirements. This notice applies to all of the records of your care generated by any
         of the separate facilities and providers described below. We are required by law to:

                 •   Keep medical information about you private;
                 •   Give you this notice of our legal duties and privacy practices with respect
                     to medical information about you; and
                 •   Follow the terms of the notice this is currently in effect,

         […]

         Who will follow this notice? Yale New Haven Health System (Yale Health) and
         Yale School of Medicine (YSM) facilities provide health care to our patients in
         partnership with other professionals and healthcare organizations. The information
         privacy practices in this notice will be followed by:

                 •   Any healthcare professional who treats you at any of our locations
                 •   All departments and affiliated covered entities of Yale New Haven Health
                     System, including; Bridgeport Hospital, Greenwich Hospital, Northeast
                     Medical Group, Westerly Hospital, Lawrence + Memorial Hospital and Yale
                     New Haven Hospital
                 •   Yale School of Medicine
                 •   The clinical care providers of Yale School of Nursing as well as their
                     affiliates
                 •   All employees, medical staff, affiliates, trainees, students, or volunteers of
                     the entities listed above. 11

Defendant also represents the following in a section of its website about the “Data Security and

Retention” of Plaintiff’s and Class Members’ Private Information:


11
     Our Policies, YALE HEALTH, https://www.ynhhs.org/policies (last checked May 14, 2025).


                                                      16
      Case 3:25-cv-00821-SRU           Document 1       Filed 05/23/25      Page 17 of 37




       Yale Health follows all applicable laws governing the retention of your data.
       Factors that influence the length of time that we retain your data include: the
       information needed to provide products, services, and experiences to you; the data
       needed to manage your account, ensure secure payment, and contact you; and,
       finally, the data needed to serve any advertising based on personal interests and
       preferences.

       Yale Health makes every reasonable effort to ensure that all of the transactions that
       occur on our websites are secure. We use a secure firewall and a security
       infrastructure that protects the integrity and privacy of personal information
       submitted to us via this website. We store all data with Secure Socket Layer (SSL)
       encryption to protect information you may submit on our Sites. SSL is the standard
       industry protocol. All off-line information is securely stored and is accessible only
       by authorized staff. That being said, Yale Health cannot ensure or warrant the
       security of any information you transmit to us, and you do so at your own risk. We
       have taken reasonable steps to ensure the integrity and confidentiality of personal
       data that you may provide. You should understand, however, that electronic
       transmissions via the internet are not necessarily secure from interception, and so
       we cannot absolutely guarantee the security or confidentiality of such
       transmissions. 12

       69.     Defendant thus agrees that it must comply with HIPAA. The Data Breach, however,

which resulted from a combination of inadequacies, demonstrates that Defendant indeed failed to

comply with safeguards mandated by HIPAA regulations.

       70.     Yale Health is also required to follow the regulations for safeguarding electronic

medical information pursuant to the Health Information Technology Act (“HITECH”). See 42

U.S.C. § 17921, 45 C.F.R. § 160.103.

       71.     Both HIPAA and HITECH obligate Yale Health to follow reasonable security

standards, respond to, contain, and mitigate security violations, and to protect against disclosure

of sensitive Private Information. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); 45 C.F.R. §

164.530(f); 42 U.S.C. § 17902.




12
  Online Privacy Policies, YALE HEALTH, https://www.ynhhs.org/policies/online-privacy (last
checked May 14, 2025).
                                                17
        Case 3:25-cv-00821-SRU          Document 1        Filed 05/23/25      Page 18 of 37




Plaintiff’s Experiences and Injuries Caused by the Data Breach

        72.    Plaintiff and Class Members are current and former patients of affiliated entities of

Yale Health.

        73.    As a prerequisite of being able to obtain medical care from Yale Health, Defendant

required Plaintiff and Class Members to provide their Private Information.

        74.    Yale Health began notifying Plaintiff and Class Members about the Data Breach on

or around April 14, 2025.

        75.    When Yale Health finally announced the Data Breach, it deliberately understated

the severity and obfuscated the nature of the Data Breach. Defendant’s Data Breach notice fails to

adequately explain how the breach occurred, what exact data elements of each affected individual

were compromised, and the extent to which those data elements were compromised.

        76.    Because of the Data Breach, Defendant inflicted injuries upon Plaintiff and Class

Members, yet Defendant has done little to provide Plaintiff and the Class Members with relief for

the damages they suffered.

        A.     Plaintiff Eric Maglione

        77.    Plaintiff Eric Maglione is an adult individual and a natural person of Connecticut,

residing in Fairfield County, where he intends to stay.

        78.    Plaintiff received medical care from an affiliated facility of the Defendant.

        79.    Yale Health obtained Plaintiff’s information as a prerequisite for Plaintiff to obtain

medical care from Yale Health. Yale Health collects and maintains personal and sensitive

information of its patients, such as Plaintiff, in order to provide medical care.

        80.    Plaintiff received from Yale Health a Data Breach notice letter, dated April 14,

2025.



                                                 18
       Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25      Page 19 of 37




       81.     The Data Breach notice letter informed Plaintiff that the following types of his

Private Information were potentially compromised in the Data Breach: name, date of birth,

address, telephone number, email address, race or ethnicity, Social Security number, and/or

medical record number.

       82.     Plaintiff is a reasonably cautious person and is therefore careful about sharing his

sensitive Private Information.

       83.     Plaintiff only allowed Defendant to maintain, store, and use his Private Information

because he believed that Defendant would use basic security measures to protect his Private

Information, such as requiring passwords and multi-factor authentication to access databases

storing his Private Information. Plaintiff’s Private Information was within the possession and

control of Defendant at the time of the Data Breach.

       84.     In the event that Plaintiff’s Private Information was accessed and obtained by a

third party without his consent or authorization, Plaintiff suffered injury from a loss of privacy.

       85.     Plaintiff has been further injured by the damages to and diminution in value of

Private Information—a form of intangible property that Plaintiff entrusted to Defendant. This

information has inherent value that Plaintiff was deprived of when his Private Information was

placed on a publicly accessible database, and exfiltrated by cybercriminals.

       86.     The Data Breach has also caused Plaintiff to suffer imminent and impending injury

arising from the substantially increased risk of additional future fraud, identity theft, and misuse

resulting from his Private Information being placed in the hands of criminals. Plaintiff has made

reasonable efforts to mitigate the impact of the Data Breach, including but not limited to

researching the Data Breach.




                                                 19
         Case 3:25-cv-00821-SRU          Document 1        Filed 05/23/25      Page 20 of 37




         87.    Plaintiff has a continuing interest in ensuring that his Private Information, which,

upon information and belief, remains backed up in Defendant’s possession, is protected and

safeguarded from future breaches.

                                     CLASS ALLEGATIONS

         88.    Plaintiff brings this action individually and on behalf of others similarly situated

under Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and 23(b)(3).

         89.    Specifically, Plaintiff proposes the following class definition, subject to any

appropriate amendments:

         All individuals residing in the United States who were impacted by the Data Breach
         as announced by Defendant in April 2025 (“Class”).

         90.    Excluded from the Class is Defendant, its subsidiaries, officers, directors, any entity

in which Defendant has a controlling interest, the legal representative, heirs, successors, or assigns

of any such excluded party, the judicial officer(s) to whom this action is assigned, and the members

of their immediate families, all judges assigned to hear any aspect of this litigation, their immediate

family members; and those individuals who make a timely and effective election to be excluded

from this matter using the correct protocol for opting out.

         91.    The proposed class definition is based on current information and may be modified

as necessary during discovery or when moving for class certification to reflect any new or changed

facts.

         92.    Numerosity: The Class likely includes hundreds of thousands of members, with

exact numbers and identities determinable from Defendant’s records, including those related to the

Data Breach.

         93.    Commonality: This action involves common questions of law and fact. These

include whether Defendant:

                                                  20
      Case 3:25-cv-00821-SRU            Document 1        Filed 05/23/25      Page 21 of 37




               a.     Failed to timely notify Plaintiff and Class Members of the Data Breach;

               b.     Had a duty to protect the Class Members’ Private Information;

               c.     Failed to safeguard Private Information adequately;

               d.     Was negligent in handling Private Information;

               e.     Violated laws by failing to notify of the breach;

               f.     Failed to implement reasonable security procedures;

               g.     Negligently caused the Data Breach;

               h.     Entered into an implied contract and breached it;

               i.     Was unjustly enriched; and

               j.     Should provide damages and/or injunctive relief.

       94.     Typicality: Plaintiff’s claims are typical of the Class, as they arise from the same

unlawful conduct and legal theories. All Class Members had their Private Information exposed due

to Defendant’s actions.

       95.     Policies Generally Applicable to the Class: This class action is appropriate

because Defendant’s policies apply uniformly to the Class, necessitating consistent relief.

       96.     Adequacy of Representation: Plaintiff is an adequate representative, with no

conflicting interests. Plaintiff’s claims align with those of the Class. In addition, Plaintiff has

retained counsel who are competent and experienced in the prosecution of class action litigation.

The claims of Plaintiff and the Class Members are substantially identical.

       97.     Superiority: A class action is superior due to impracticality of individual litigation,

offering economies of scale and uniform decision-making. A class action allows for efficient

adjudication without unnecessary duplication of effort and expense. Class action treatment is a

superior approach for fair and efficient adjudication, enabling numerous Class Members to pursue



                                                 21
      Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25      Page 22 of 37




common claims simultaneously. It prevents unnecessary duplication and allows for modest claims

to be litigated efficiently, which would otherwise be economically impractical for individual Class

Members.

       98.     Manageability: The litigation is manageable due to Defendant’s uniform conduct

and consistent legal provisions, ensuring consistent outcomes and avoiding unnecessary

duplication. The prosecution of this lawsuit as a class action presents no significant manageability

issues. Adequate notice can be provided to Class Members using information from Defendant’s

records.

       99.     Class certification, injunctive relief, and declaratory relief are appropriate due to

Defendant’s actions affecting the Class as a whole.

       100.    Key issues suitable for certification include:

               a.      Whether Defendant timely notified Plaintiff and the Class of the data

                       breach;

               b.      Whether Defendant owed a duty to exercise due care in handling private

                       information;

               c.      The reasonableness of Defendant’s security measures;

               d.      Whether Defendant’s failure to implement adequate security was negligent;

               e.      Whether Defendant failed to take reasonable steps to safeguard private

                       information; and

               f.      Whether following FTC recommendations could have prevented the breach.

       101.    Predominance: Common questions of law and fact predominate over individual

issues, as similar violations, practices, and injuries are involved. Defendant’s conduct, liability,

and damages are common to all Class Members.



                                                22
       Case 3:25-cv-00821-SRU           Document 1           Filed 05/23/25   Page 23 of 37




        102.   Injunctive Relief: Injunctive relief is appropriate due to Defendant’s actions

affecting the Class generally. Without a class-wide injunction, Defendant may continue to fail in

securing Class Members’ private information, refuse proper notification regarding the data breach,

and act unlawfully as alleged.

        103.   Ascertainability: Class Members are ascertainable based on objective criteria and

can be identified through Defendant’s records.

                                      CAUSES OF ACTION

       FIRST CAUSE OF ACTION—NEGLIGENCE AND NEGLIGENCE PER SE
                  (On Behalf of Plaintiff and all Class Members)

        104.   Plaintiff hereby re-alleges and incorporates by reference each of the foregoing

paragraphs of this Complaint as if fully set forth herein.

        105.   Defendant owed Plaintiff and Class Members a duty of care to secure and safeguard

their Private Information using commercially reasonable methods. This duty arose when

Defendant accepted and stored Plaintiff’s and Class Members’ Private Information on its systems.

        106.   Defendant’s obligations included exercising reasonable care in obtaining, retaining,

securing, and protecting Private Information; implementing industry-standard security procedures;

promptly detecting and responding to data breaches; and notifying affected individuals of any

security incidents promptly and with specificity.

        107.   Defendant was aware that Private Information is private and confidential, and thus,

it had a duty not to expose Plaintiff and Class Members to unreasonable risks of harm.

        108.   Defendant knew or should have known about the risks associated with collecting

and storing Private Information, the vulnerabilities of its systems, and the importance of adequate

security.




                                                 23
      Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25      Page 24 of 37




       109.    Despite this knowledge, Defendant failed to ensure its systems were sufficient to

protect Private Information.

       110.    This failure constitutes a breach of its duties to Plaintiff and Class Members.

       111.    Defendant had independent duties under state and federal laws to safeguard Private

Information and notify affected parties of breaches.

       112.    These obligations are separate from any contractual agreements.

       113.    Defendant breached its general duty of care by failing to provide adequate security

practices, timely disclose breaches, protect Private Information, and implement necessary security

measures.

       114.    Defendant’s breaches included failing to provide reasonable security systems,

timely disclose breaches, protect Private Information, implement breach detection processes,

encrypt Private Information, and train employees properly.

       115.    These failures were wrongful, reckless, and grossly negligent, given the foreseeable

risks and known threats.

       116.    There is a close causal connection between Defendant’s failure to implement

security measures and the harm suffered. Defendant’s actions constitute common law negligence.

       117.    Defendant violated 15 U.S.C. § 45 by failing to use reasonable measures to protect

Private Information, contrary to industry standards and FTC guidelines. This conduct was

particularly unreasonable given the nature and amount of Private Information involved.

       118.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and Class Members have been caused to suffer and will continue to suffer the continued

risks of exposure of their Private Information, which the Defendant still possesses, and may result




                                                24
       Case 3:25-cv-00821-SRU            Document 1          Filed 05/23/25   Page 25 of 37




in further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect Private Information in its continued possession.

          SECOND CAUSE OF ACTION – BREACH OF IMPLIED CONTRACT
                   (On Behalf of Plaintiff and all Class Members)

       119.    Plaintiff hereby re-alleges and incorporates by reference each of the foregoing

paragraphs of this Complaint as if fully set forth herein.

       120.    By providing Private Information to Defendant in exchange for services, Plaintiff

and Class Members entered into implied contracts with Defendant.

       121.    These contracts were based on the reasonable expectation that Defendant would

protect the information with due care.

       122.    Defendant actively solicited and invited Plaintiff and Class Members to share their

Private Information as part of its standard business practices.

       123.    In response, Plaintiff and Class Members accepted these offers and provided their

Private Information, trusting that Defendant would handle it securely.

       124.    In entering these implied contracts, Plaintiff and Class Members reasonably

assumed that Defendant’s data security practices complied with relevant laws, regulations, and

industry standards.

       125.    They also expected that Defendant would allocate sufficient resources to maintain

adequate data security.

       126.    By providing services and payments to Defendant, Plaintiff and the Class Members

relied on the understanding that Defendant would use part of its earnings to ensure robust data

security measures. Defendant failed to meet these expectations.




                                                 25
       Case 3:25-cv-00821-SRU             Document 1         Filed 05/23/25     Page 26 of 37




          127.   The implied contract between Plaintiff, Class Members, and Defendant was

predicated on the understanding that Defendant would keep their Private Information reasonably

secure.

          128.   Without this assurance, Plaintiff and Class Members would not have entrusted their

sensitive information to Defendant.

          129.   Furthermore, Plaintiff and the Class Members relied on Defendant’s implied

promise to monitor its systems and networks to ensure the adoption of reasonable data security

measures.

          130.   Plaintiff and Class Members fulfilled their obligations under the contracts implied

by providing their Private Information in good faith.

          131.   Defendant breached these implied contracts by failing to safeguard and protect the

Private Information of Plaintiff and the Class Members.

          132.   Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages resulting from the data breach.

          133.   Plaintiff and Class Members seek injunctive relief, requiring Defendant to enhance

its data security systems and monitoring procedures, undergo annual audits, and provide immediate

and adequate credit monitoring to Plaintiff and Class Members.

                   THIRD CAUSE OF ACTION—UNJUST ENRICHMENT
                       (On Behalf of Plaintiff and All Class Members)

          134.   Plaintiff hereby re-alleges and incorporates by reference each of the foregoing

paragraphs of this Complaint as if fully set forth herein.

          135.   Plaintiff brings this claim in the alternative to breach of implied contract.

          136.   Plaintiff and Class Members conferred significant benefits upon Defendant by

providing their Private Information.

                                                   26
       Case 3:25-cv-00821-SRU           Document 1         Filed 05/23/25      Page 27 of 37




        137.    In exchange, Plaintiff and the Class Members expected to have their Private

Information protected with adequate data security measures.

        138.    Defendant was aware of these benefits conferred, accepted them, and profited from

the transactions by using Plaintiff’s and the Class Members’ Private Information for business

purposes.

        139.    Upon information and belief, Defendant funds its data security measures from its

general revenue, which includes payments made on behalf of Plaintiff and Class Members.

        140.    A portion of these payments should have been allocated to provide a reasonable

level of data security.

        141.    Defendant, however, failed to secure the private information adequately, despite

deriving revenue from it and relying on it for essential business functions.

        142.    Had Plaintiff and Class Members known about Defendant’s inadequate security

practices, they would not have provided their Private Information.

        143.    Defendant enriched itself by diverting funds meant for data security to increase its

profits, using cheaper and ineffective measures instead.

        144.    This decision directly and proximately harmed Plaintiff and Class Members.

        145.    As a result of Defendant’s actions, Plaintiff and Class Members suffered various

injuries, including invasion of privacy, theft of private information, lost value of private

information, time and opportunity costs to mitigate the breach, loss of benefit of the bargain, and

increased risk to their private information.

        146.    Plaintiff and Class Members have no adequate remedy at law.




                                                 27
       Case 3:25-cv-00821-SRU           Document 1           Filed 05/23/25   Page 28 of 37




          147.   Under principles of equity and good conscience, Defendant should not retain the

money wrongly obtained by Defendant on behalf of Plaintiff and Class Members, nor profit from

the use of Plaintiff’s and Class Members’ Private Information.

          148.   Defendant should be compelled to disgorge these proceeds into a common fund or

constructive trust for the benefit of Plaintiff and Class Members.

             FOURTH CAUSE OF ACTION—BREACH OF FIDUCIARY DUTY
                    (On Behalf of Plaintiff and All Class Members)

          149.   Plaintiff hereby re-alleges and incorporates by reference each of the foregoing

paragraphs of this Complaint as if fully set forth herein.

          150.   A relationship existed among Plaintiff and the Class Members and Defendant,

arising from Defendant’s acceptance of Plaintiff’s and Class Members’ Private Information, as

well as Defendant’s express representations regarding its commitment to safeguard such

information.

          151.   By accepting Plaintiff’s and Class Members’ Private Information, Yale Health

assumed the role of guardian of that data. Through this undertaking, Yale Health became a

fiduciary, obligated to act primarily for the benefit of Plaintiff and Class Members. This fiduciary

duty included, but was not limited to, the responsibility to safeguard Private Information and to

provide timely detection and notification to Plaintiff and Class Members in the event of a data

breach.

          152.   Public policy considerations further support the imposition of a fiduciary duty

under these circumstances, given Defendant’s acceptance of Plaintiff’s and Class Members’

Private Information and its representations regarding the protection of such information.




                                                 28
       Case 3:25-cv-00821-SRU             Document 1      Filed 05/23/25      Page 29 of 37




       153.    Defendant breached its fiduciary duty to Plaintiff and Class Members by failing to

exercise the utmost good faith, fairness, honesty, and the highest degree of loyalty. Specifically,

Defendant failed to adequately protect the Private Information of Plaintiff and Class Members.

       154.    Defendant’s breach of fiduciary duty was the legal cause of damages suffered by

Plaintiff and Class Members.

       155.    But for Defendant’s breach of its fiduciary duty, Plaintiff and Class Members would

not have sustained these damages.

       156.    Defendant’s breach of fiduciary duty was a substantial factor in causing the

damages incurred by Plaintiff and Class Members.

       157.    As a direct and proximate result of Yale Health’s breaches of its fiduciary duties,

Plaintiff and Class Members have suffered, will suffer, or are at increased risk to suffer concrete

injuries, including but not limited to:

               a.      Actual identity theft;

               b.      Loss of the opportunity to control the use and disclosure of their Private

                       Information;

               c.      Unauthorized access, acquisition, appropriation, disclosure, encumbrance,

                       exfiltration, release, theft, use, and/or viewing of their Private Information;

               d.      Out-of-pocket expenses related to the prevention, detection, and recovery

                       from identity theft and/or unauthorized use of their Private Information;

               e.      Lost opportunity costs and loss of productivity resulting from efforts to

                       address and mitigate the actual and future consequences of the data breach,

                       including time spent researching ways to prevent, detect, contest, and

                       recover from identity theft;



                                                 29
       Case 3:25-cv-00821-SRU            Document 1       Filed 05/23/25      Page 30 of 37




               f.      Ongoing risk to their Private Information, which remains in Yale Health’s

                       possession and is susceptible to further unauthorized disclosures as long as

                       Yale Health fails to implement adequate protective measures and retain

                       vendors who ensure the security of Private Information;

               g.      Future costs in terms of time, effort, and money necessary to prevent, detect,

                       and remediate the impact of the compromised Private Information for the

                       foreseeable future; and

               h.      Nominal damages.

       158.    As a direct and proximate result of Yale Health’s breaches of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer additional forms of injury,

harm, and other economic and non-economic losses.

 FIFTH CAUSE OF ACTION—DECLARATORY JUDGMENT/INJUNCTIVE RELIEF
                (On Behalf of Plaintiff and All Class Members)

       159.    Plaintiff hereby re-alleges and incorporates by reference all preceding paragraphs

of this Complaint as if fully set forth herein.

       160.    Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., this Court is

vested with the authority to declare the rights and legal relations of the parties and to grant all

necessary and appropriate relief. Additionally, the Court possesses broad discretion to enjoin

conduct that is tortious or in violation of federal and state statutes as described in this Complaint.

       161.     An actual controversy exists following the Data Breach concerning the adequacy

of Defendant’s current data security measures to protect Plaintiff’s and Class Members’ Private

Information from further compromise. Plaintiff alleges that Defendant’s data security protocols

remain insufficient.




                                                  30
       Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25       Page 31 of 37




       162.    The cybersecurity incident involving Defendant underscores the necessity for

injunctive relief on behalf of Plaintiff and Class Members. Defendant has failed to implement

adequate measures to safeguard Private Information, thereby leaving Plaintiff and Class Members

without effective means to protect themselves.

       163.    As a direct result of the compromise of their Private Information, Plaintiff and Class

Members continue to sustain injuries and remain at imminent risk of further unauthorized

disclosures in the future.

       164.    In accordance with the Declaratory Judgment Act, Plaintiff respectfully requests

that this Court issue a judgment declaring, among other things, that: Defendant owes a legal duty

to secure the Private Information of Plaintiff and Class Members and to provide timely notification

of any data breach under common law, Section 5 of the Federal Trade Commission Act, HIPAA,

and various state statutes and that Defendant is in ongoing breach of this duty by failing to

implement reasonable security measures to protect such information.

       165.    Plaintiff further requests that the Court order injunctive relief:

               a.     Requiring Defendant to provide lifetime credit monitoring and identity theft

                      insurance for Plaintiff and Class Members;

               b.     Requiring Defendant, in fulfillment of its contractual and legal obligations,

                      to implement and maintain reasonable security and monitoring measures,

                      including but not limited to:

                      i.       Prohibiting Defendant from engaging in the wrongful and unlawful

                               acts alleged herein;




                                                 31
Case 3:25-cv-00821-SRU    Document 1       Filed 05/23/25       Page 32 of 37




           ii.   Requiring Defendant to protect all business-collected data,

                 including through encryption, in compliance with applicable

                 regulations, industry standards, and federal, state, and local laws;

          iii.   Mandating the deletion and purging of Plaintiff’s and Class

                 Members’ Private Information unless Defendant can demonstrate to

                 the Court a reasonable justification for its retention and use,

                 balanced against the privacy interests of Plaintiff and Class

                 Members;

          iv.    Requiring Defendant to implement and maintain a comprehensive

                 Information Security Program to protect the confidentiality and

                 integrity of Plaintiff’s and Class Members’ Private Information;

           v.    Mandating that Defendant engage independent third-party security

                 auditors and internal personnel to conduct automated security

                 monitoring, simulated attacks, penetration tests, and periodic audits

                 of Defendant’s systems;

          vi.    Prohibiting Defendant from storing Plaintiff’s and Class Members’

                 Private Information on a cloud-based database until appropriate

                 safeguards and processes are in place;

         vii.    Requiring Defendant to segment data through firewalls and access

                 controls to prevent unauthorized access to other portions of

                 Defendant’s systems in the event of a compromise;

         viii.   Requiring regular database scanning and security checks;

          ix.    Mandating monitoring of all network traffic ingress and egress;



                                   32
       Case 3:25-cv-00821-SRU           Document 1          Filed 05/23/25     Page 33 of 37




                     x.        Requiring the establishment of an information security training

                               program, including at least annual training for all employees and

                               additional   training   as     appropriate    based   on   employees’

                               responsibilities concerning Private Information;

                    xi.        Requiring implementation of a testing system to assess employees’

                               knowledge of security education programs and periodic, random

                               testing of compliance with Defendant’s information security

                               policies and procedures;

                    xii.       Requiring Defendant to implement, maintain, and revise as

                               necessary a threat management program to monitor networks for

                               internal and external threats and to ensure monitoring tools are

                               properly configured, tested, and updated; and

                   xiii.       Requiring Defendant to provide meaningful education to all Class

                               Members regarding the risks associated with the loss of their

                               confidential personal information and the steps they should take to

                               protect themselves.

       166.    Absent the issuance of an injunction, Plaintiff and Class Members will suffer

irreparable harm and lack an adequate legal remedy should another data breach occur involving

Defendant. The threat of another breach is real, immediate, and substantial. In the event of a

subsequent breach, Plaintiff and Class Members would be unable to obtain adequate relief at law

due to the difficulty in quantifying many of the resulting injuries and the potential need to initiate

multiple lawsuits to address the same conduct.




                                                 33
       Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25       Page 34 of 37




       167.     The hardship faced by Plaintiff and Class Members if injunctive relief is denied far

outweighs any hardship to Defendant if such relief is granted. Plaintiff and Class Members face a

significant risk of identity theft and related damages, whereas the cost to Defendant of complying

with reasonable data security measures is relatively minimal and consistent with Defendant’s

existing legal obligations.

       168.     Granting the requested injunction serves the public interest. On the contrary,

denying such relief would expose the public to the risk of further data breaches and the attendant

harms to Plaintiff and Class Members whose confidential information could be further

compromised.

                                   JURY TRIAL DEMANDED

       Plaintiff demands a trial by jury on all claims so triable.

                                     DEMAND FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court grant judgment as follows:

       A.       Certifying this action as a class action and appoint Plaintiff and Plaintiff’s counsel

to represent the Class, ensuring that all affected parties are adequately represented and protected;

       B.       Declaring the misconduct alleged herein to be unlawful as arising under the law set

forth herein;

       C.       Awarding Plaintiff and the Class Members damages in an amount to be determined

at trial, including pre-judgment interest, statutory damages, and penalties;

       D.       Enjoining Defendant from engaging in the wrongful conduct alleged herein,

specifically the misuse and/or disclosure of Plaintiff’s and Class Members’ Private Information

and compelling Defendant to provide prompt, complete, and accurate disclosures to Plaintiff and

Class Members regarding the data breach;



                                                 34
      Case 3:25-cv-00821-SRU              Document 1       Filed 05/23/25      Page 35 of 37




       E.         Compelling Defendant to implement and maintain robust methods and policies for

client data collection, storage, and safety and compelling Defendant to disclose with specificity

the type of private information compromised during the data breach, ensuring transparency and

accountability;

       F.         Awarding Plaintiff and the Class Members injunctive relief, including, but not

limited to, the following measures necessary to protect the interests of Plaintiff and Class

Members:

              i.         Prohibiting Defendant from engaging in the wrongful and unlawful acts

                         described herein;

             ii.         Mandating Defendant to protect all collected data through encryption, in

                         accordance with applicable regulations, industry standards, and federal,

                         state, or local laws;

            iii.         Requiring Defendant to delete, destroy, and purge the Private Information

                         of Plaintiff and Class Members unless justified retention is demonstrated,

                         balancing privacy interests against business needs;

            iv.          Compelling Defendant to establish and maintain a comprehensive

                         Information Security Program to safeguard the confidentiality and integrity

                         of private information;

             v.          Prohibiting Defendant from storing private information on cloud-based

                         databases;

            vi.          Mandating Defendant to engage independent third-party security auditors

                         and internal personnel to conduct periodic testing, including simulated

                         attacks and penetration tests, and to promptly address any identified issues;



                                                   35
       Case 3:25-cv-00821-SRU           Document 1        Filed 05/23/25       Page 36 of 37




            vii.       Requiring Defendant to engage independent third-party security auditors

                       and internal personnel for automated security monitoring;

            viii.      Mandating that Defendant audit, test, and train its security personnel on new

                       or modified procedures;

             ix.       Requiring Defendant to segment data using firewalls and access controls to

                       prevent unauthorized access across its network;

              x.       Mandating regular database scanning and security checks by Defendant;

             xi.       Establishing an information security training program with at least annual

                       training for all clients, tailored to their responsibilities in handling personal

                       identifying information;

            xii.       Conducting routine internal training and education, including annual

                       updates for security personnel on breach identification and response.

            xiii.      Implementing tests to assess clients’ knowledge of education programs and

                       compliance with policies;

            xiv.       Developing a threat management program to monitor networks for internal

                       and external threats, ensuring monitoring tools are configured, tested, and

                       updated; and

             xv.       Educating Class Members about the risks associated with the loss of their

                       confidential information and steps to protect themselves. xvi. Implementing

                       logging and monitoring programs to track server traffic;

       G.       Ordering Defendant to provide at least five years of credit monitoring services for

Plaintiff and the Class to mitigate potential financial harm;




                                                  36
       Case 3:25-cv-00821-SRU           Document 1      Filed 05/23/25     Page 37 of 37




       H.      Awarding attorneys’ fees and costs, including expert witness fees, to compensate

for the legal efforts expended in this matter; and

       I.      Awarding Plaintiff and the Class such other and further relief as this Court may

deem just and proper.



Dated: May 23, 2025                           Respectfully submitted,

                                         By: /s/ Richard E. Hayber
                                             Richard E. Hayber
                                             HAYBER, MCKENNA & DINSMORE, LLC
                                             750 Main Street
                                             Suite 904
                                             Hartford, CT 06103
                                             Tel.: (860) 522-8888
                                             rhayber@hayberlawfirm.com

                                               Blaine Finley (pro hac vice forthcoming)
                                               FINLEY PLLC
                                               1455 Pennsylvania Avenue, NW
                                               Suite 400
                                               Washington, D.C. 20004
                                               Tel.: (281) 723-7904
                                               bfinley@finley-pllc.com

                                               Michele S. Carino (pro hac vice forthcoming)
                                               GREENWICH LEGAL ASSOCIATES, LLC
                                               881 Lake Avenue
                                               Greenwich, CT 06831
                                               Tel.: (203) 622.6001
                                               mcarino@grwlegal.com




                                                 37
